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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Jordella Robinson, individually and as a
representative of a class of similarly situated

borrowers, Civil Action No. 2:15-cv-04123
Plaintiff, Division: “C-2”
v. District Judge: Hon. Helen G.
Berrigan

Standard Mortgage Corporation and
Standard Mortgage Insurance Agency, Inc., Magistrate Judge: Hon. Joseph C.
Wilkinson, Jr.

Defendants.

AMENDED COMPLAINT-CLASS ACTION AND DEMAND FOR JURY TRIAL
_—_—S DAL LON AND DEMAND FOR JURY TRIAL

Plaintiff Jordella Robinson, on behalf of herself and as a representative of a class of
similarly situated borrowers, brings the claims set forth below against Standard Mortgage
Corporation (“Standard Mortgage”) and Standard Mortgage Insurance Agency, Inc. (“SM
Insurance”) (collectively, “Defendants”).

NATURE OF THE ACTION

1, Plaintiff and members of the Class (as defined below) have or had loans or lines
of credit owned, originated, and/or serviced by Standard Mortgage secured by their property and
were charged for “force-placed” insurance pursuant to exclusive agreements between Standard
Mortgage and SM Insurance that returned significant financial benefits to Standard Mortgage
unrelated to any contractual or other bona fide interest in protecting Standard Mortgage’s interest
in the loan or the property, resulting in unauthorized and unfairly inflated costs to borrowers in
violation of the law and the underlying mortgages.

2. Throughout the proposed Class Period (defined below) Standard Mortgage would
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replace borrowers lapsed insurance policies with “force-placed” or “lender-placed” insurance
and would “force-place” duplicative and unnecessary insurance on borrowers. Such policies
offer less coverage, are substantially more expensive, and provide lucrative financial benefits to
Standard Mortgage and SM Insurance.

3. Standard Mortgage exploited its contractual authority to force-place insurance in
order to reap additional profits in the form of unjustified commissions and other forms of
consideration at the expense of borrowers whose insurance was force-placed. Sometimes the
consideration was disguised as reimbursements for certain costs or was a percentage of the force-
placed premiums, subsidized or discounted administrative services, or lucrative captive
reinsurance deals. These improper benefits were not legitimately related to the cost of the force-
placed insurance or the purposes for which force-placed insurance is purchased — to protect the
lender’s interest in the mortgaged property.

4. Standard Mortgage charges borrowers for the “cost” of procuring force-placed
insurance but a portion of this purported “cost” is returned, transferred or paid back to Standard
Mortgage and/or its affiliated entities.

5. SM Insurance also benefitted financially from the force placed insurance practices
at issue in this Complaint.

6. Among other things, Plaintiff and members of the Class seek to recover treble
damages under RICO, or, in the alternative, damages equal to the amount of the improper and
inequitable financial benefit received by Defendants and/or their affiliates as a result of this anti-
consumer and predatory practice.

rl The premiums paid by and/or assessed to Plaintiff and members of the Class also

included amounts not attributable to the cost of providing force-placed insurance but, instead,
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constituted expenses associated with servicing the loans. The percentage of borrowers who were
charged for force-placed insurance were shouldering the costs of monitoring Standard
Mortgage’s entire loan portfolio — effectively providing kickbacks to Standard Mortgage in the
form of below-market, outsourced insurance services,

8. Plaintiff and the Class were charged substantially more than the price of regular
insurance by Defendants. These charges included large commissions being paid from SM
Insurance to Standard Mortgage while SM Insurance benefited from an exceptionally low loss
ratio compared to the home insurance industry at large.

9. Throughout the Class Period (defined below), Defendants have engaged in
unlawful, abusive and unfair practices with respect to force-placed insurance, including: (a)
improperly exploiting the ability to manage and gain access to lines of credit and/or escrow
accounts in order to exact payment for inflated force-placed insurance premiums that included
unlawful kickbacks; (b) forcing insurance on borrowers arranged through pre-designated
providers of force-placed insurance at a substantially higher cost to the borrower; (c) charging
Plaintiff and members of the Class amounts for force-placed insurance, which were inflated by
unreasonable expenses unrelated to the provision of the insurance and that result from collusion
among affiliates and/or providers involved in the process; (d) receiving fees, payments,
commissions and other things of value from providers of force-placed insurance; (e)
misrepresenting that Standard Mortgage was force-placing insurance on Plaintiff's and Class
members’ properties to secure Standard Mortgage’s interests, and omitting to inform Plaintiff
and Class members that Standard Mortgage was force-placing insurance to generate an
unreasonable and unwarranted profit for Standard Mortgage and SM Insurance; and (f)

conspiring to take advantage of their contractual authority to force-place insurance on Plaintiff
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and the Class members in order to return an undisclosed and improper financial benefit to
Defendants.

10. Based on Defendants’ conduct as described herein, Plaintiff asserts claims for (a)
violating the Racketeer Influenced Corrupt Organization Act, 18 U.S.C. §§ 1961-1968
(“RICO”); (b) conspiracy to violate RICO, 18 U.S.C. § 1962(d); (c) Breach of the Duty of Good
Faith and Fair Dealing against Standard Mortgage; (d) Unjust Enrichment against Standard
Mortgage; and (e) Unjust Enrichment against SM Insurance.

11. Plaintiff and the Class seek injunctive relief, corresponding declaratory relief,
monetary relief, treble damages under RICO, and other appropriate relief for Defendants’
unlawful conduct, as described herein.

THE PARTIES
A. Plaintiff

12. Plaintiff Jordella Robinson resides in Harvey, Louisiana and is a member of the
Class.

13. Plaintiff purchased her home in Harvey, Louisiana with a loan that is now owned
or serviced through Standard Mortgage and/or its affiliated entities.

14. Plaintiff was force-placed with insurance by Defendants as alleged below.

B. Standard Mortgage

15. Defendant Standard Mortgage is a Louisiana corporation with its headquarters at
701 Poydras Street, Suite 400, New Orleans, Louisiana.

16. Standard Mortgage operates throughout the country, including in this District.

17. At all relevant times, Standard Mortgage was the lender and/or servicer on

Plaintiff's mortgage.
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18. Standard Mortgage force placed insurance on Plaintiff and her property as alleged
below.

C. SM Insurance

19. Defendant SM Insurance is a Louisiana corporation with its principal place of
business at 701 Poydras Street, Suite 400 Plaza, New Orleans, Louisiana. It does business
nationwide, including in this District.

20. SM Insurance was the insurer on the policies that Standard Mortgage force-placed
on Plaintiff.

JURISDICTION AND VENUE

21. This Court has federal question jurisdiction over Plaintiff's RICO claim pursuant
to 28 U.S.C. § 1331 and supplemental jurisdiction over Plaintiff's state law claims pursuant to 28
U.S.C. § 1367,

22. _ Personal jurisdiction is conferred by 18 U.S.C. § 1965(a), which allows a party to
institute a civil RICO action in any district in which a defendant “resides, is found, has an agent,
or transacts his affairs.” Alternatively, 18 U.S.C. § 1965(b) provides that as long as one
defendant is subject to service in a particular district, additional parties residing in other districts
may be brought before the forum court, in the court’s discretion, to the extent that “the ends of
justice require.”

23. Alternatively, this Court has personal jurisdiction over Defendants because
Defendants are engaged in systematic and continuous business activities in Louisiana, have
sufficient minimum contacts in Louisiana, and/or otherwise intentionally avail themselves of the
Louisiana consumer market. This purposeful availment renders the exercise of jurisdiction by

this Court over Defendants appropriate under traditional notions of fair play and substantial
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justice.

24. Venue is proper in this District pursuant to 28 U.S.C. § 1391. Plaintiff resides in
this District, the property on which Defendants force-placed insurance is in this District,
Defendants regularly conduct business in this District, and a substantial part of the events or
omissions giving rise to the claim occurred in this District.

FACTUAL ALLEGATIONS
A. Background

25. As is typical of mortgagees, Standard Mortgage requires borrowers to purchase
and agree to maintain insurance coverage on their secured property,

26. To ensure that the mortgagee’s interest in the secured property is protected,
mortgage loan contracts typically allow the lender or third-party servicer to “force-place
insurance” when the homeowner fails to maintain the insurance. The amounts disbursed for the
procurement of such insurance becomes additional debt secured by the mortgage.

27. Plaintiff's and Class members’ mortgage agreements do not disclose that Standard
Mortgage has an exclusive arrangement with SM Insurance to manipulate the force-placed
insurance market and artificially inflate the premiums that SM Insurance and Standard Mortgage
charge to borrowers for force-placed insurance. The mortgage agreements do not disclose that
the premiums are inflated to provide kickbacks and other financial benefits to Standard Mortgage
and its affiliates, often disguised as commissions or reimbursement of expenses, and to cover the
cost of discounted services, or to provide Standard Mortgage with lucrative reinsurance
arrangements and to include unwarranted charges, The mortgage agreements do not disclose that
this payment will be based upon a percentage of the cost of the premium of the force-placed

insurance.
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28. The insurance policies Standard Mortgage force-placed on Plaintiff's and the
Class’s homes were significantly more expensive than standard insurance coverage. While the
force-placed insurance policy primarily benefits Standard Mortgage, the excessive cost is passed
on to Plaintiff and the Class.

B. Mortgage Loan Servicers Commonly Have Undisclosed Lucrative Pre-
Arranged Agreements to Refer Borrowers to Certain Force-Placed Insurance
Providers
29.  Force-placed insurance programs have become a lucrative business for loan

servicers and/or lenders such as Standard Mortgage. Commonly, the servicer and/or lender

selects the provider through a pre-arranged agreement and force-places the policy in such a way
as to receive improper financial benefits. The servicer and/or lender benefits by placing the
policy either: (a) with an affiliate; or (b) with a third party provider who has already agreed to
share revenue with the lender and/or servicer in the form of a direct commission payment,

subsidized portfolio monitoring and/or through “reinsurance” premiums that are ceded to a

subsidiary/affiliate of the servicer (a “captive reinsurance arrangement”).

30. | Under the direct payment arrangement, the provider of the force-placed insurance
policy pays a portion of the premium collected either directly to the lender/servicer or to a
subsidiary posing as an insurance “agent” in the form of commissions or as a “reimbursement”

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of the servicer’s “incurred expenses” related to force-placing the insurance.

31. Standard Mortgage had such an arrangement with SM Insurance.

32. Under the captive reinsurance arrangement, the provider of the force-placed
insurance policy agrees to “reinsure” the force-placed insurance policy with a subsidiary or

“captive reinsurer” of the referring servicer. In return for the subsidiary’s agreement to assume a

portion of the insurer’s risk of loss, the insurer cedes to the subsidiary a portion of the premiums
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received on account of the policy.
33. | Defendants’ kickback arrangement mirrored the typical kickback arrangement of
other mortgage servicers. Illustrative of the typical kickback arrangements is the following

graphic from American Banker:

Sharing in the Profits

How servicers make money arranging force-placed coverage

To reptace lapsed
coverage, servicer buys
policy on home from
insurer

Ta replace lapsed
homeowners coverage,
the servicer, working
through a subsidiary,

buys policy from insurer

: Servicer advances
Servicer advances premiums to insurer

premiums to insurer

 

Subsidiary of servicer
Insurer pays portion reinsures part of the
of premium back to policy, gets a cut of
subsidiary as a premiums
commission :
if necessary, subsidiary

buys letter of credit
from another party

Servicer bilis borrower
for the policy

 

Servicer bills borrower

tf borrower defaults,
for the policy

cost of insurance is
subtracted fram
roceeds to investors
rom foreclosure sale

it borrower defaults,
cost of insurance is
subtracted from
proceeds to investors
from foreclosure sale

   

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34. Standard Mortgage used force-placed insurance as a profit center by collecting
commissions from insurers through lender-affiliated agents or brokers or by receiving below-cost
or free services (such as tracking of loans) from insurers.

35. Standard Mortgage had a financial incentive to force-place insurance because the
“premium” included unearned commissions and other unearned consideration.

36. Borrowers have no say or input into the carrier or terms of the force-placed
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insurance policies. The terms and conditions of the insurance policy, as well as the cost of the
policy, are determined by the servicer and the insurer, rather than negotiated between the
borrower and the insurer.

37. For their part, servicers have no incentive to comparison shop for the best rate.
Rather, servicers are financially motivated to refer borrowers to the provider that will give the
best financial benefit to the servicer in terms of commission and/or ceded reinsurance premiums.
As the servicer’s “commission” (i.¢., kickback) and/or reinsurance premium is usually related to
the size of the policy, the servicer actually has an incentive to purchase the highest priced
insurance, an interest diametrically opposed to that of the borrower.

38. | Commonly, a mortgage loan servicer enters into an agreement with an insurance
provider pursuant to which it refers borrowers exclusively to the provider for force-placed
insurance.

39. Force-placed insurance policies are not underwritten on an individual policy
basis. Rather, servicers’ contracts with force-placed insurance providers such as SM Insurance
require, or at least permit, the insurer to automatically issue these policies when a borrower's
insurance coverage is not maintained.

40. The lack of underwriting should have resulted in much lower acquisition expenses
for SM Insurance, since no sales force is required to place the insurance. Nevertheless, SM
Insurance’s force-placed insurance was significantly more costly than borrower-obtained
insurance.

4i. Lenders and servicers often go so far as to actually outsource their insurance
processing to the force-placed insurance provider. The provider then continuously monitors the

servicer’s mortgage portfolio and verifies the existence of insurance on each mortgaged property.
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In the event that borrowers do not maintain adequate insurance coverage, the insurer promptly
issues an insurance certificate on the property on behalf and for the benefit of the servicer. Thus,
where these servicers receive commissions from force-placed insurance providers (which are
ultimately charged to borrowers), they are performing no service for the commissions they
receive other than simply providing the referral.

42. Plaintiff and the Class did not request the insurance they received, but were
charged for it nevertheless. The cost of the force-placed insurance charged to Plaintiff and the
Class was much higher than a policy the borrower would purchase on his or her own. Standard
Mortgage had an incentive to force-placed insurance because the “premiums” charged included
unearned commissions to Standard Mortgage and, in some cases, the insurance was reinsured
through a captive reinsurer of Standard Mortgage, resulting in additional unearned revenue to
Standard Mortgage.

43. In addition, the loss ratio for SM Insurance on Standard Mortgage’s force-placed
insurance portfolio was extremely low—making it extremely profitable. SM Insurance passed
along the benefits to Standard Mortgage who received unearned commissions and passed along
the cost of tracking all of its loans on only those who were charged for force-placed insurance.

44. Servicers commonly attempt to justify the high price of force-placed insurance
policies by pointing to the higher risk associated with the lack of individual policy underwriting.
However, this premise belies the fact that the profit margins generated by force-placed policies
are unheard of elsewhere in the insurance industry.

45. Lenders and servicers also attempt to blame the exorbitant cost of force-placed
insurance on the fact that the policy is issued without the benefit of a prior inspection of the

property. However, according to the National Consumer Law Center, as a general matter,

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insurers do not routinely inspect residential properties in the course of underwriting.

46. Standard Mortgage’s explanations for the high cost of insurance are unsupported
by any evidence and SM _ Insurance’s loss ratios for force-placed insurance have been
significantly lower than regular insurance.

Cc. Defendants’ Force-Placed Insurance Operations

47. Standard Mortgage was a party to an agreement with SM Insurance whereby
Standard Mortgage received commissions or other financial benefits from SM Insurance for
force placing insurance.

48. In return, Standard Mortgage provided SM Insurance and its affiliates with the
unfettered right to collect noncompetitive, inflated premiums from insurance policies force-
placed throughout the United States.

49. The excessively inflated price of force-placed insurance provided to Standard
Mortgage borrowers did not represent the actual cost of providing the insurance but instead
encompassed fees, commissions, rebates or kickbacks and other consideration for “faux”
services purportedly provided by SM Insurance. The inflated price also consisted of a significant
mark-up by SM Insurance, which took full advantage of distressed borrowers and the exclusive
nature of its agreement with Standard Mortgage.

50. ‘Plaintiff's force-placed insurance cost more than equivalent, market-priced
insurance,

51. Defendants charged Plaintiff a premium of more than $8,000 when the premium
for similar (although more comprehensive) coverage was approximately $2,000.

52. The inflated, non-competitive portion of the force-placed insurance cost,

therefore, was split between Standard Mortgage and SM Insurance and damaged Plaintiff and the

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Class.

D. The Origination of Plaintiff's Mortgage

93. In 2004, Plaintiff purchased a home located at 3844 Cimwood Drive, Harvey,
Louisiana (the “Property”) and obtained a mortgage through Standard Mortgage to finance the

purchase,

54. The terms of the Mortgage Agreement required the payment of certain insurance

charges, as detailed in paragraphs 4 and 7:

4, Fire, Flood, and Other Hazard Insurance. Borrower shall
insure all improvements on the Property, whether now in existence
or subsequently erected, against any hazards, casualties, and
contingencies, including fire. This insurance shall be maintained in
the amounts and for the periods that Lender requires. Borrower
shall also insure all improvements on the Property, whether now in
existence or subsequently erected, against loss by floods to the
extent required by the Secretary. All insurance shall be carried
with companies approved by Lender. The insurance policies and
any renewals shall be held by Lender and shall include loss
payable clauses in favor of, and in a form acceptable to Lender.

* * *

7. Charges to Borrower and Protection of Lender’s Rights in
the Property. . . . If Borrower fails to make these payments or the
payments required by paragraph 2, or fails to perform any other
covenants and agreements contained in this Security Instrument, or
there is a legal proceeding that may significantly affect Lender’s
rights in the Property (such as a proceeding in bankruptcy, for
condemnation or to enforce laws or regulations), then Lender may
do and pay whatever is necessary to protect the value of the
Property and Lender’s rights in the Property, including payment of
taxes, hazard insurance and other items mentioned in Paragraph 2.
Any amounts disbursed by Lender under this Paragraph shall
become an additional debt of Borrower as provided for in the Loan
Agreement and shall be secured by this Security Instrument. These
amounts shall bear interest from the date of disbursement, at the
Note rate, and at the option of Lender, shall be immediately due
and payable.

See Mortgage, attached hereto as Exhibit 1 at pages 3 of 8 and 4 of 8.

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55. After Plaintiff closed on the loan, Standard Mortgage became the lender and
servicer on Plaintiff’s joan, subject to the terms in the Mortgage that Plaintiff had with Integra

Bank.

E. Standard Mortgage Charged Plaintiff for Force-Placed Insurance Pursuant to
Lucrative Pre-Arranged Agreements After Issuing Materially False and

Misleading Notices
56. Before Defendants force-placed insurance on Plaintiff and her property, Plaintiff

 

was paying an annual premium of approximately $2,000 per year for hazard insurance coverage.

57. For example, for 2013 the premium for Plaintiff's own coverage was $2,283.00.

58. On September 7, 2012, Standard Mortgage sent Plaintiff a letter stating that it
would force place insurance on her home. It stated that “[bJecause we will not have all of the
information that you would normally provide when purchasing coverage directly, the rate of
coverage we acquire may be higher than what you might otherwise be able to obtain. The
premium will be $8,820.00.”

59, This letter is false and misleading because the reason the premium was nearly
four times the cost of Plaintiff's own insurance policy was because the cost of the large kickback
to Standard Mortgage was figured into the cost of the insurance “premium”.

60. Standard Mortgage sent Plaintiff another letter on October 26, 2012, stating
verbatim the same false reason for the insurance premium’s high cost.

61. On November 24, 2012, Standard Mortgage sent Plaintiff a letter stating that “the
premium of $8,845.20 will be billed to your account and your monthly payment will be
increased.”

62. This statement falsely represents that the cost of the insurance policy premium is

$8,845.20, when the true cost of insurance was much less. The “premium” Standard Mortgage

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claims was $8,845.20 included the true cost of insurance plus a substantial and undisclosed
kickback to Standard Mortgage.

63. By letter dated January 4, 2013, Standard Mortgage told Plaintiff that Standard
Mortgage had force-placed insurance coverage on her property: “Our records indicate that you
have not provided us with acceptable evidence of continuous homeowner’s insurance coverage
on the above property. In order to protect our mutual interests in the property, we have ordered
coverage in accordance with the terms of your Deed of Trust/Mortgage. The insurance charges
will be in the amount of $8,845.20.” See Exhibit 2 attached.

64. The premium for Defendants’ force-placed coverage was four times the premium
for Plaintiff's own coverage.

65. The notices were objectively false and misleading because they failed to disclose,
inter alia: (a) Standard Mortgage had preexisting agreements with SM Insurance that guaranteed
Standard Mortgage would receive unearned, substantial kickbacks, financial benefits, a portion
of the premium, and below market-cost portfolio monitoring; (b) that the “insurance charges” for
the force-placed insurance were significantly higher because of an illicit guid pro quo
arrangement between and/or among Standard Mortgage and SM Insurance whereby Standard
Mortgage received substantial kickbacks and other unearned consideration in return for giving
SM Insurance and its affiliates the exclusive right to receive inflated, noncompetitive force-
placed premiums on Standard Mortgage’s entire loan portfolio; (c) the cost of force-placed
insurance was “substantially more expensive” because of an illicit quid pro quo arrangement
between Standard Mortgage and SM Insurance whereby Standard Mortgage received substantial
financial benefits and other unearned consideration in return for giving SM Insurance the

exclusive right to receive inflated, noncompetitive force-placed premiums on Standard

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Mortgage’s entire loan portfolio; (d) the actual “insurance charges” were far less than the
$8,845.20 set forth in the notice; (e) borrowers were also charged for the undisclosed
“commission” received by Standard Mortgage from SM Insurance; (f) the notice made no
reference to the kickbacks or commissions to Standard Mortgage for the force-placed insurance;
(g) that Standard Mortgage would receive financial benefits and consideration as a result of the
force-placement without earning any commission or income; and (h) that Standard Mortgage
would violate the Mortgage’s restriction on doing and paying only what was “necessary to
protect the value of the Property and the Lender’s rights in the Property.” Mortgage at 7.

66. Asa result of the additional charges by Defendants for the force-placed insurance
coverage, Defendants charged Plaintiff's escrow account approximately $8,000.

67. Defendants’ notices and letters were materially misleading because the amounts
charged to Plaintiff for the force-placed insurance were greater than the actual cost to insure the
property (because it included amounts attributable to kickbacks in the form of commissions,
illusory reinsurance, and/or below-cost outsourcing) and greater than the costs of insurance
Standard Mortgage could have obtained elsewhere. The amounts charged were above the then-
existing market rate.

68. At no time did Defendants disclose to Plaintiff that the amounts they charged her
covered kickbacks to Standard Mortgage, splitting of premiums by Standard Mortgage and SM
Insurance, reinsurance profits, bundled administrative costs, below-cost services, or any of the
other impermissible charges described in this Complaint.

69. Further, Standard Mortgage did not charge Plaintiff the “necessary” or actual
“cost” of the policy as required by the Mortgage and the representations of Standard Mortgage;

rather, the charges include illegal commissions, kickbacks, reinsurance profits, and profits from

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below cost services as described further in this Complaint. Additionally, the policy placed by
Standard Mortgage on Plaintiff's property was substandard compared to those which Standard
Mortgage could have obtained in the open market.

70. Borrowers were also charged for the undisclosed commission received by
Standard Mortgage and the notices made no reference to the arrangement between Standard
Mortgage and SM Insurance for kickbacks, commissions and other benefits.

71. Moreover, the notices and escrow statements were objectively false and
misleading because the amount listed as an “annual premium amount” really was for more than

just the premium and because:

(a) The notices and statements represented that borrowers were
responsible for the cost of the coverage when, in actuality,
borrowers were also charged for the undisclosed “commission”
and benefits received by Standard Mortgage;

(>) The notices and statements failed to disclose that Standard
Morigage and its affiliates had preexisting agreements with SM
Insurance that guaranteed Standard Mortgage would receive
unearned financial benefits and below-market-cost portfolio
monitoring;

(c) The notices and statements failed to disclose that the cost of
force-placed insurance was substantially more expensive because
of an illicit guid pro quo arrangement between Standard Mortgage
and SM Insurance whereby Standard Mortgage received unearned
financial benefits and other unearned consideration in return for
giving SM Insurance the exclusive right to receive inflated,
noncompetitive force-placed premiums on Standard Mortgage’s
entire loan portfolio;

(d) The notices and statements failed to disclose that the
commissions or income paid to Standard Mortgage included
portfolio-monitoring below-market cost and rebates or kickbacks
and other financial benefits that were not in connection with any
actual services rendered (and, thus, was not an earned commission
but instead was a kickback).

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F. Government Response to Mortgage Lender and _ Servicer Force-Placed
Insurance Practices

72. — Force-placed insurance practices of mortgage lenders and servicers, insurance
providers and insurance producers are currently the subject of a number of government
investigations prompted by concerns that consumers are being gouged when they are force-
placed insurance following a lapse in their policies.

73. Fannie Mae has changed its policies so as to curb bank and servicers’ improper
practices. Fannie Mae issued a Service Guide Announcement on March 14, 2012, “amending and
clarifying its policies regarding the use, coverage, requirements, deductibles, carrier eligibility
requirements, and allowable reimbursable expenses for lender-placed insurance” for servicers of
the loans it holds. The Fannie Mae guidelines seek to eliminate the abuses prevalent in the force-
placed insurance industry including requiring that the cost of force-placed insurance be
“competitively priced” and “commercially reasonable” and must exclude: (1) any lender-placed
insurance commission earned on that policy by the servicer or any related entity; (2) costs
associated with insurance tracking or administration; (3) or any other costs beyond the actual
cost of the lender-placed insurance policy premium. See Fannie Mae Servicing Guide
Announcement SVC-2012-04, available at
https://www. fanniemae.com/content/announcement/sve1204.pdf.

74. The relatively low level of losses associated with force-placed insurance indicates
that reinsurance with captives is also unnecessary. Not surprisingly, far from being an excessive
risk, force-placed insurance is actually SM Insurance’s most profitable product.

G. Standard Mortgage’s Force Placed Insurance Policies and Practices Provide

Unearned and Unjustified Profits and Kickbacks to Defendants

75. While Standard Mortgage performed little to no work in the monitoring of its loan

 

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portfolio for lapses and writing policies, it received unearned payments from SM Insurance
nevertheless. These payments were simply a cost of doing force-placed business.

76. Indeed, industry analysts have opined that referral fees, commissions and other
payments to bank affiliates explain why insurers’ overhead, which is ultimately passed on to
borrowers, is higher, implying paydays for servicers amounting to hundreds of millions of
dollars per year.

77. Moreover, the charges that Standard Mortgage chose to impose upon borrowers
for force-placed insurance also unlawfully included the cost of portfolio monitoring and tracking
services for Standard Mortgage’s entire loan portfolio, the cost of which was then passed on to
the small percentage of borrowers whose properties were force placed,

78. The classic role of insurance producer is to help policyholders determine their
needs and shop the market. Standard Mortgage, however, did not live up to this class role.
Rather, Standard Mortgage force-placed borrowers with the extremely expensive policies due to
Standard Mortgage’s incentive to receive unearned commissions and receive below market rate
portfolio monitoring.

79. ‘Standard Mortgage’s practices of unlawfully profiting from force-placing
insurance policies tend to keep premiums for force-placed insurance artificially inflated over
time because a percentage of borrowers’ premiums are not actually being paid to cover actual
tisk, but are simply funding illegal kickbacks. Amounts paid to servicers and their affiliates as
commissions and reinsurance premiums have become a part of the cost of doing business for
force-placed insurance providers. As a result, force-placed insurance premiums incorporate the
payment of these kickbacks — to the detriment of consumers.

80. Standard Mortgage (through SM Insurance) has threatened and, indeed, stifled

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competition through this scheme. Standard Mortgage had no incentive to select competitively
priced insurance policies. Instead, Standard Mortgage selected extremely expensive policies
which only protected its own interest and which passed on unearned financial benefits to
Standard Mortgage.

CLASS ACTION ALLEGATIONS

81. Plaintiff asserts her RICO claims (Counts I and ID on behalf of the following
proposed nationwide Class:

All persons who have or had a mortgage loan or line of credit
owned, originated or serviced by Standard Mortgage and/or its
affiliates secured by property located in United States and, in
comnection therewith, were charged for “force-placed” insurance
on the secured property within the applicable statute of limitations.

82. Plaintiff asserts her state law claims (Counts IIIJ-V) on behalf of the following

proposed Louisiana sub-Class:
All persons who have or had a mortgage loan or line of credit
owned, originated or serviced by Standard Mortgage and/or its
affiliates secured by property located in Louisiana and, in
connection therewith, were charged for “force-placed” insurance
on the secured property within the applicable statute of limitations.

83. These Classes exclude any judge or magistrate assigned to this case, Defendants,
and any entity in which any Defendant has a controlling interest, and Defendants’ officers,
directors, legal representatives, successors, and assigns.

84. | Numerosity: The Class is so numerous that joinder of all Class members is
impracticable, The Class includes likely thousands of Standard Mortgage’s customers.

85. Typicality: Plaintiff's claims are typical of the members of the proposed Class.

86. Adequacy: Plaintiff will fairly and adequately protect the interests of the Class,

and has retained counsel experienced in complex class action litigation. Plaintiff has no interests

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that are adverse to those of the Class that she seeks to represent.

87,

Commonality: Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting individual members of the Class,

including:

A.

88.

Whether Defendants’ form letters to borrowers materially misrepresent the
nature of force-placed insurance;

Whether Standard Mortgage maintained a policy of referring force-placed
insurance business to insurers pursuant to pre-arranged agreements;

Whether Standard Mortgage received commissions or any other payments or
things of value from SM Insurance and force-placed insurance providers;

Whether Standard Mortgage participated in arrangements that involved
kickbacks;

Whether Defendants received financial benefits from the force-placed
insurance providers in the form of insurance monitoring, tracking and
processing services;

Whether Defendants received unauthorized and illicit payments in connection
with force-placed insurance that were unrelated to a bona fide service in
connection with the force-placed insurance and its purpose;

Whether Defendants received payments in connection with force-placed
insurance that exceeded the value of any services actually performed or that
were otherwise commercially unreasonable;

Whether Standard Mortgage and SM Insurance devised a scheme to defraud
borrowers and loan owners by charging them for force-placed insurance;

Whether the scheme alleged herein constitutes mail or wire fraud;
Whether Defendants have been unjustly enriched:

Whether Defendants are liable to Plaintiff and the Class for damages and, if
so, the measure of such damages; and

Whether Plaintiff and the Class are entitled to declaratory, injunctive, and other
equitable relief.

These and other questions of law and fact are common to the Class and

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predominate over any questions affecting only individual members of the Class.

89. Plaintiff is a member of the Class and will fairly and adequately represent and
protect the interests of the Class. Plaintiff has no claims antagonistic to those of the Class.
Plaintiff has retained counsel competent and experienced in complex nationwide class actions,
including all aspects of this litigation. Plaintiffs counsel will fairly, adequately and vigorously
protect the interests of the Class.

90. Class action status is warranted under Rule 23(b)(1)(A) because prosecuting
separate actions by or against individual members of the Class would create a risk of inconsistent
or varying adjudications with respect to individual members of the Class, which would establish
incompatible standards of conduct for Defendants.

91. Class action status is also warranted under Rule 23(b)(1)(B) because prosecuting
separate actions by or against individual members of the Class would create a risk of
adjudications with respect to individual members of the Class which would, as a practical matter,
be dispositive of the interests of the other members not parties to the adjudications or
substantially impair or impede their ability to protect their interests.

92. Class action status is also warranted under Rule 23(b)(2) because Defendants
have acted or refused to act on grounds generally applicable to the Class, thereby making
appropriate final injunctive relief or corresponding declaratory relief with respect to the Class as
a whole.

93. Class action status is also warranted under Rule 23 (b)(3) because questions of law
or fact common to the members of the Class predominate over any questions affecting only
individual members, and a class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

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94. Plaintiff reserves her right to modify or amend the definition of the proposed
Class at any time before the Class is certified by the Court.
COUNT I
VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS ACT, 18 U.S.C. §§ 1961-1968
(Against all Defendants)
95. Plaintiff repeats and realleges each and every paragraph above as if set forth
herein.
96. Plaintiff, each Class member, and each Defendant, are “persons,” as that term is
defined in 18 U.S.C. §§ 1961(3) and 1962(c).
97. The alleged unlawful conduct is in violation of 18 U.S.C. § 1962(c).
98. Each defendant and the alleged misconduct and basis of liability of each
defendant.
(a) STANDARD MORTGAGE CORPORATION (“Standard
Mortgage”) is a Louisiana corporation with its headquarters in New Orleans,
Louisiana. Standard Mortgage participated and conspired to participate in
the predicate acts that form the pattern of racketeering alleged below.
(b) STANDARD MORTGAGE INSURANCE AGENCY, INC. (“SM
Insurance”) is a Louisiana Corporation with its principal place of business in
New Orleans, Louisiana. SM Insurance participated and conspired to
participate in the predicate acts that form the pattern of racketeering alleged
below.

99. _ All known wrongdoers are defendants in this case and their misconduct is

described below.

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100. The alleged victims and how the alleged victims were injured: Plaintiff Jordella
Robinson, a resident of Harvey, Louisiana, is a victim of the alleged RICO violations. Additional
victims include the putative class of all persons who have or had a mortgage loan or line of credit
owned, originated or serviced by Standard Mortgage and/or its affiliates secured by property
located in United States and, in connection therewith, were charged for “force-placed” insurance
on the secured property. Plaintiff and the Class paid or were charged falsely inflated,
unauthorized force-placed insurance premiums by reason, and as a direct, proximate and
foreseeable result, of the predicate acts that form the pattern of racketeering alleged below.

101. Furthermore, the owners of the loans that Standard Mortgage services also are
victims of Defendants’ predicate acts. When borrowers failed to pay force placed insurance on
loans that Defendants serviced, Defendants would misrepresent the cost of the force placed
insurance when Defendants sought reimbursement for those costs from the owners and
guarantors of the loans (such as Fannie Mae and Freddie Mac). As a result, the owners of the
loans would pay inflated amounts to Defendants for the force placed insurance premiums.

The Pattern of Racketeering Activity

102. The alleged predicate acts and the specific statutes violated: The predicate acts
constitute violations of mail fraud under 18 U.S.C. § 1341, wire fraud under 18 U.S.C. § 1343,
honest services fraud under 18 U.S.C. § 1346, and extortion and attempted extortion under 18 U.S.C.
§ 1951{a).

103. The alleged predicate acts relate to the enterprise as part of a common plan. The
predicate acts described below relate to the Enterprise, and were performed as part of the common
plan to further the conspiracy to generate money for Standard Mortgage and SM Insurance by

eschewing competitive pricing and by gouging customers. Without the alleged predicate acts,

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Defendants could not have successfully achieved the goals of their common plan.

104. At ail relevant times, in violation of 18 U.S.C. § 1962(c), Defendants conducted
the affairs of the Enterprise through a pattern of racketeering activity as defined in RICO, 18
U.S.C. § 1961(5) by virtue of the conduct described in this Complaint. The Defendants have
conducted the affairs of the Enterprise and participated in the operation and management thereof
at least through the following conduct.

105. Standard Mortgage enters into servicing agreements with owners and/or holders
of whole loans. The servicing agreements provide, inter alia, that Standard Mortgage is obligated
to maintain continuous insurance on the secured properties.

106. Standard Mortgage buys force-placed insurance from SM Insurance or its
affiliates with respect to the loans Standard Mortgage services. Standard Mortgage pays
insurance premiums to SM Insurance for the force-placed insurance.

107. Standard Mortgage hires SM Insurance as a subcontractor to perform Standard
Mortgage’s “insurance tracking” responsibilities.

108. Standard Mortgage and SM Insurance, and their affiliates conceal from the public,
borrowers, and loan owners that Standard Mortgage pays SM Insurance below market price for
its insurance tracking services and that SM Insurance is also compensated by the insurance
company and underwriters for these services.

109. SM Insurance or its affiliates pay rebates or kickbacks to Standard Mortgage.

110. The money to pay the rebates or kickbacks is derived from Standard Mortgage’s
force-placed insurance premiums. The amount of the rebates or kickbacks is computed as a
percentage of Standard Mortgage’s force-placed insurance premiums.

111. The rebates and kickbacks are paid in the form of below-market cost tracking

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services and bogus “commissions.”

112. The bogus “commissions” are paid by SM Insurance to Standard Morigage or an
affiliate of Standard Mortgage on the false pretense that the affiliate is a third-party insurance
agent. SM Insurance falsely labels these payments as “commissions.”

113. Asa quid pro quo for the rebates and kickbacks, Standard Mortgage continues to
procure force-placed insurance from SM Insurance or its affiliates for inflated, noncompetitive
prices and continues to outsource insurance tracking to SM Insurance.

114. Standard Mortgage retains the rebates/kickbacks for itself, while billing and
charging borrowers based on the full purported price of the force-placed insurance. The
rebates/kickbacks reduce Standard Mortgage’s force-placed insurance costs, but those savings
are not passed through to borrowers. Instead, borrowers are billed and charged the full purported
price of the force-placed insurance even though that does not reflect the actual cost of the
insurance policy.

115. Additionally, when borrowers make their mortgage payments, Standard Mortgage
subtracts the inflated amounts billed with respect to force-placed insurance off the top before
applying any balance to principal, interest, or other charges.

116. Because amounts paid for force-placed insurance are servicing advances,
Standard Mortgage has inflated charges to borrowers by failing to pass through the rebates and
kickbacks to borrowers. Standard Mortgage reimburses itself from the proceeds of the loans
based on the inflated servicing advances. To the extent borrowers fail to pay, loan owners bear
the inflated charges.

117. SM Insurance computes the amounts purportedly due and issues notices to

borrowers fraudulently setting forth the balances owed for force-placed insurance based on the

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full prices of the force-placed insurance premiums without subtracting the rebates and kickbacks.

118. SM Insurance represents to consumers that notices are issued by Standard
Mortgage.

119. The notices and letters are on Standard Mortgage letterhead although SM
Insurance sends those letters and notices.

120. Standard Mortgage approved and directed the issuance of the notices.

121. The notices materially omit that Standard Mortgage is already reimbursed for a
portion of the inflated premium by SM Insurance. By requiring borrowers to pay the full price of
the inflated premium, Standard Mortgage gives itself a windfall.

122. The notices are materially false by representing that borrowers are responsible for
the cost of insurance when they actually are responsible for more than just the cost of the
insurance. They are charged for the undisclosed “commission” that Standard Mortgage receives.

123. To the extent that any notices that Defendants issue reveal that either Defendant
will receive any kind of compensation in connection with the force-placed insurance, that
statement was objectively false and misleading because it failed to disclose, inter alia: (1)
Standard Mortgage “always” will receive compensation (instead of “may” receive
compensation); (2) Standard Mortgage and its affiliates had preexisting agreements with SM
Insurance that guaranteed that Standard Mortgage would receive a substantial rebate or kickback;
(3) the compensation paid to Standard Mortgage, including below-market cost portfolio-
monitoring and rebate/kickbacks, is not in connection any actual services rendered, and thus is
not earned compensation but instead is a kickback; (4) under the agreements, Standard Mortgage
was not compensated for the placement of the individual policies or certificates but rather was

rebated or kicked-back money for agreeing to enter into exclusive force-placed insurance and

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outsourcing agreements with SM Insurance.

124. The notices and statements lull borrowers into believing that no fraudulent
scheme is occurring and that Standard Mortgage and SM Insurance and/or their affiliates are
simply exercising Standard Mortgage’s rights under borrowers’ mortgage loan agreements. By
lulling Plaintiff and the Class into a false sense of security, the notices and statements make it
less likely that borrowers will object to the improper charges, complain to the authorities, or
bring lawsuits.

125. Standard Mortgage issues remittance reports, monthly servicing reports, and
annual certifications of compliance to loan owners that include information about Standard
Mortgage’s compensation, advances, and reimbursements. The reports and certifications
fraudulently set forth balances for Standard Mortgage’s advances and reimbursements based on
the full prices of the force-placed insurance without subtracting the rebates and kickbacks. The
reports and certifications also fraudulently exclude the compensation that Standard Mortgage
derives from the kickbacks and rebates, which are not disclosed in the reports and certifications.
Moreover, the reports and certifications fraudulently conceal that SM Insurance is not
meaningfully compensated by Standard Mortgage from Standard Mortgage’s own funds but,
instead, through the force-placed insurance premiums, despite the fact that Standard Mortgage is
thereby breaching its agreements with loan owners. The reports and certifications also omit that
Standard Mortgage unjustly enriched itself by acting outside of its contractual authority within
the mortgage loan agreements by billing borrowers for reimbursement of force-placed insurance
costs in amounts in excess of Standard Mortgage’s actual costs.

126. The remittance reports, monthly servicing reports, and annual certifications of

compliance lull loan owners into believing that no fraudulent scheme is occurring and that

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Defendants are simply exercising Standard Mortgage’s rights under their servicing agreements.

By lulling loan owners into a false sense of security, the remittance reports, monthly servicing

reports, and annual certifications of compliance notices and statements make it less likely that

loan owners will object to the improper charges, complain to the authorities, or bring lawsuits.
The Predicate Acts of Mail and Wire Fraud

127. The pattern of racketeering activity consisted of mail and/or wire fraud in
violation of 18 U.S.C. §§ 1341 and 1343. Specifically, the Enterprise engaged in an intentional
scheme or artifice to defraud borrowers and the owners of the loans serviced by Standard
Mortgage and to obtain money or property from said borrowers and loan owners through false or
fraudulent pretenses, representations and promises.

128. The bribes, kickbacks, false statements and omissions, and mail and/or wire
communications of Standard Mortgage and SM Insurance and their affiliates in furtherance of
the scheme constituted predicate acts of mail and/or wire fraud.

129. It was reasonably foreseeable to Standard Mortgage and SM Insurance and their
affiliates that the mails and/or wires would be used in furtherance of the scheme, and the mails
and/or wires were in fact used to further and execute the scheme.

130. The nature and pervasiveness of the Enterprise necessarily entailed frequent wire
and/or mail transmissions. The precise dates of such transmissions cannot be alleged without
access to the books and records of Defendants. Nevertheless, Plaintiff can allege such
transmissions generally.

131. For the purpose of furthering and executing the scheme, Standard Mortgage and
SM Insurance and their affiliates regularly transmitted and caused to be transmitted by means of

wire communication in interstate commerce writings, electronic data and funds, and also

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regularly caused matters and things to be placed in post offices or authorized depositories, or
deposited or caused to be deposited matters or things to be sent or delivered by a private or
commercial interstate carrier. For example:

(a) SM Insurance issued materially false and misleading notices relating to

force-placed insurance to borrowers via mail;

(b) SM Insurance also communicated to borrowers with respect to force-
placed insurance issues by telephone;

(c) Standard Mortgage issued monthly statements incorporating the falsely
overstated force-placed insurance charges to borrowers via mail and/or wire;

(d) Standard Mortgage issued materially false and misleading remittance
reports, monthly servicing reports and annual certifications of compliance to loan
owners via the mail and/or electronically via wire;

(e) SM Insurance and/or Standard Mortgage received force-placed insurance
payments from borrowers via mail and/or wire; and

(f) SM Insurance transmitted funds to Standard Mortgage’s affiliates
reflecting purported “commissions” via mail and/or wire.

132. Standard Mortgage and SM Insurance and their affiliates utilized the mails and/or
wires for the purpose of furthering and executing the scheme. As Standard Mortgage’s insurance
tracking subcontractor, SM Insurance drafts and issues standardized notices to borrowers.

133. Prior to the placement of force-placed insurance, SM Insurance issues notices to
borrowers demanding evidence of insurance and warning that Standard Mortgage will force
place coverage if such evidence is not forthcoming. Once force-placed insurance is imposed, SM

Insurance issues a letter (on Standard Mortgage letterhead) to inform borrowers that it has

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obtained coverage.

134. Dates of the predicate acts: Standard Mortgage sent Plaintiff these false and
misleading notices on September 7, 2012, September 28, 2012, October 26, 2012, November 24,
2012, and January 4, 2013.

135. Plaintiff explains which statements in these letters were fraudulent and why in
Section E of the Factual Allegations, above. Plaintiff incorporates by reference that section here.

136. These are only examples of certain instances of the pattern of racketeering activity
consisting of mail and/or wire fraud violations engaged in by Standard Mortgage, SM Insurance
and their affiliates. Each electronic and/or postal transmission was incident to an essential part of
the scheme. As detailed above, Standard Mortgage, SM Insurance and their affiliates engaged in
similar activities with respect to each member of the Class and with respect to the owners of the
loans of each member of the Class.

137. Each such electronic and/or postal transmission constituted a predicate act of wire
and/or mail fraud in that each transmission furthered and executed the scheme to defraud
borrowers and the owners of the loans.

138. Standard Mortgage, SM Insurance and their affiliates each participated in the
scheme to defraud knowingly, willfully and with a specific intent to defraud borrowers and the
owners of the loans into paying and/or incurring falsely inflated, unauthorized charges in
connection with force-placed insurance.

139. The predicate acts of mail and wire fraud constitute a pattern of racketeering
activity as defined in 18 U.S.C. § 1961(5). The predicate acts were not isolated events, but
related acts aimed at the common purpose and goal of defrauding borrowers and loan owners to

pay and incur the falsely inflated, unauthorized charges with respect to force-placed insurance

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and thereby enable Standard Mortgage, SM Insurance and their affiliates to reap illicit profits.

140. Standard Mortgage, SM Insurance and their affiliates were common participants
in the predicate acts. Their activities amounted to a common course of conduct, with similar
pattern and purpose, intended to deceive borrowers and owners of the loans.

Honest Services Fraud

141. The scheme alleged herein also constitutes “honest services” fraud in violation of
18 U.S.C. § 1346,

142. The wire fraud and mail fraud statutes make it a crime to, inter alia, devise a
scheme to deprive another of “honest services.”

143. The mail fraud statute reads in relevant part as follows:

Whoever, having devised . . . any scheme or artifice to defraud, or
for obtaining money or property by means of false or fraudulent

pretenses, representation, or promises . . . [uses the mails in
furtherance of the scheme shall be punished by imprisonment or
fine or both].

18 U.S.C. § 1341.
144. The wire fraud statute is in relevant respects identical. See 18 U.S.C. § 1343.
145. 18U.S.C. § 1346 provides:
For the purposes of this chapter [including § 1341 and § 1343], the
term “scheme or artifice to defraud” includes a scheme or artifice
to deprive another of the intangible right to honest services,
18 U.S.C. § 1346.
146. Through 18 U.S.C. § 1346, Congress brought schemes to deprive another of
honest services within the scope of the mail and wire fraud statutes.

147. In Skilling v. United States, 561 U.S. 358 (2010), the Supreme Court addressed

the scope and constitutionality of 18 U.S.C. § 1346, concluding that the statute criminalizes

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“fraudulent schemes to deprive another of honest services through bribes or kickbacks.” Jd. at
404. In fact, the Court held that, for purposes of the mail and wire fraud statutes, the term
“scheme or artifice to defraud” in 18 U.S.C. § 1346 (the “honest services” provision), applies to
bribes and kickbacks. The Court stated that “there is no doubt that Congress intended § 1346 to
reach at least bribes and kickbacks” because the “vast majority” of pre-McNally honest services
cases involved bribery or kickback schemes. /d. at 365.

148. At all relevant times, Standard Mortgage owed legal duties to render services to
loan owners and borrowers. In all cases, those duties included maintaining continuous insurance
coverage on the secured properties. The value of Standard Mortgage’s services depended on
Standard Mortgage rendering those services in an honest manner. Nevertheless, Standard
Mortgage misused its position as the servicer of the loans to extract bribes and kickbacks from
SM Insurance. Standard Mortgage thereby breached its obligation to render “honest services” to
loan owners and borrowers. Standard Mortgage and SM Insurance devised a scheme or artifice
to defraud borrowers of their intangible right to Standard Mortgage’s honest services through
kickbacks.

The Predicate Acts of Extortion, Attempted Extortion,

And Conspiracy to Commit Extortion

149. The pattern of racketeering activity also consisted of extortion, attempted
extortion, and conspiracy to commit extortion in violation of the Hobbs Act, 18 U.S.C. §
1951 (a).

150. As alleged above, the mortgage loan agreements of Plaintiff and the Class
authorize the lender to charge borrowers the costs of any insurance force-placed on their
property. Nothing in the agreements authorizes the lender to charge any amount in excess of the

lender’s cost. Pursuant to the scheme alleged herein, however, Plaintiff and the Class were

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charged amounts in excess of Standard Mortgage’s force-placed costs with respect to the
borrowers’ property. The rebates/kickbacks that Standard Mortgage received reduced such costs.
Nevertheless, Standard Mortgage charged borrowers based on the full purported price of the
force-placed insurance.

151. At all relevant times, by virtue of the conduct alleged above, Standard Mortgage,
SM Insurance and their affiliates induced, and attempted and conspired to induce, Plaintiff and
the Class to pay these extra-contractual amounts, which were in excess of Standard Mortgage’s
force-placed insurance costs and not due under their respective mortgage loan agreements,
through the wrongful use of actual or threatened fear of economic harm. Specifically, Standard
Mortgage, SM Insurance and their affiliates used, and attempted and conspired to use, the actual
or threatened fear of default and foreclosure to induce Plaintiff and the Class to pay the improper
charges imposed.

152. As alleged above, the mortgage loan agreements of Plaintiff and the Class entitled
Standard Mortgage to add any force-placed insurance charges to the balances of their loans and
to foreclose in order to collect such charges if unpaid. The mortgage loan agreements provide, in
words or substance, that any insurance charges “shall become an additional debt of Borrower and
be secured by this Security Instrument,” Exhibit 1 (Mortgage) at { 7, and that the lender or its
authorized servicer is entitled to foreclose to collect any unpaid amounts due.

153. Standard Mortgage routinely collected unpaid force-placed insurance charges
through foreclosure. The force-placed insurance charges described above frequently pushed
distressed Class members over the foreclosure cliff.

154. By virtue of the facts alleged above, Plaintiff and the Class reasonably believed:

(i) that Standard Mortgage possessed the power to collect any unpaid force-placed insurance

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charges through foreclosure; and (ii) that Standard Mortgage would exploit that power and
foreclose if borrowers failed to pay the insurance charges that Standard Mortgage and SM
Insurance imposed.

155. Additionally, by virtue of the facts alleged above, Standard Mortgage, SM
Insurance and their affiliates agreed to engage in the acts alleged above, and intentionally
performed acts, including, without limitation, the acts alleged above, and under the
circumstances as Standard Mortgage, SM Insurance and their affiliates believed them to be,
constituted violations of the Hobbs Act and/or substantial steps in the commission of a Hobbs
Act violation. Moreover, Defendants and their affiliates thereby affected and intended to affect
interstate commerce.

156. Plaintiff and the Class received nothing of value in exchange for payment of the

excess force-placed insurance charges.

The Enterprise

157. For purposes of this claim, the RICO “enterprise” is an association-in-fact, as the
term is defined in 18 U.S.C. §§ 1961(4) and 1962(c), consisting of the Defendants Standard
Mortgage and SM Insurance, and their affiliates (“Enterprise”). The Enterprise was separate and
distinct from the persons that constituted the Enterprise.

158. Defendants constitute the association-in-fact enterprise within the meaning of 18
US.C. § 1961(4).

159. No Defendant is an employee, officer, or director of the Enterprise.

160. Each Defendant is a member of the Enterprise.

161. Defendants are entities separate and apart from the Enterprise itself. Both

Defendants are members of the Enterprise and perpetrators of the racketeering activity alleged

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above.

162. The enterprise has an ascertainable structure that is separate and apart from
the pattern of racketeering activity. Defendants engage in to further the common purpose of
the enterprise. Defendants have associated to pursue their common purpose through predicate
acts against thousands of borrowers in violation of Section 1962(c) and (d) since at least 2009.

163. The Enterprise was primarily managed by Standard Mortgage, which organized
the fraudulent scheme and procured the involvement of SM Insurance.

164. Alternatively, the Enterprise was managed by SM Insurance, which organized the
fraudulent scheme and procured the involvement of Standard Mortgage.

165. Each of the Defendants, however, agreed to, and did, participate in the conduct of
the Enterprise, and carried out their roles using broad and independent discretion.

166. The companies and individuals that constitute the Enterprise were associated for
the common purpose of defrauding borrowers and loan owners by overcharging them for force-
placed insurance with respect to Standard Mortgage-serviced loans. The purpose thereof was to
induce borrowers to pay, and the owners of the loans to incur, overcharges in respect to such
insurance. At all relevant times, the Enterprise was engaged in and its activities affected
interstate commerce. The proceeds of the Enterprise were distributed to its participants, Standard
Mortgage and SM Insurance, and their affiliates.

167. The Enterprise operated from at least 2009 and its operation is ongoing. The
Enterprise has an ascertainable structure separate and apart from the pattern of racketeering
activity in which the Defendants engage.

168. Standard Mortgage hires SM Insurance as a subcontractor to perform Standard

Mortgage’s “insurance tracking” duties under Standard Mortgage’s servicing agreements.

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Insurance tracking is a labor-intensive servicing responsibility related to force-placed insurance.
It consists of monitoring the status of homeowners’ voluntary insurance to confirm that it is in
force, notifying homeowners of any insurance deficiencies, and securing force-placed insurance
when appropriate.

169. Standard Mortgage, together with SM Insurance and its affiliates, devised and
carried out a scheme to defraud borrowers and loan owners by overcharging them for force-
placed insurance. Pursuant to the scheme, SM Insurance and its affiliates pay Standard Mortgage
secret rebates, i.e., kickbacks, camouflaged through complex transactions using affiliates and
related parties. Standard Mortgage pockets the rebates for itself, while fraudulently billing
borrowers based on the full purported price of the force-placed insurance, In other words, the
rebates reduce Standard Mortgage’s force-placed insurance costs, but those savings are not
passed through to borrowers. Because the amounts supposedly paid by Standard Mortgage for
force-placed insurance constitute “servicing advances,” loan owners bear the inflated charges
through reduced loan proceeds and higher loss severities to the extent borrowers fail to pay.

170. Any amounts paid by the servicer to buy force-placed insurance count as
“servicing advances” under pooling and services agreement and other agreements between the
servicer and the loan owner. The servicer is entitled to recoup such advances from the proceeds
of the loan, whether through payments made by the borrower or, if the borrower defaults,
through proceeds at foreclosure. Additionally, the servicer has the right to be reimbursed before
any money is passed through to the securitization trust or other loan owner. In other words, the
servicer gets paid “off the top.” In this respect, servicers are functionally the senior-most
creditors with respect to the loans they manage; their rights are senior even to those of the

owners of the loans.

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171. As devised by Standard Mortgage and/or SM Insurance, the scheme involves the
payment of rebates/kickbacks in at least two forms: (i) below-market tracking services and (ii)
bogus “commissions.”

172. The below-market cost portfolio monitoring and tracking services are provided by
SM Insurance. More specifically, the insurers and underwriters compensate SM Insurance for
force-placing insurance, which includes compensation for its tracking services. Standard
Mortgage pays only nominal consideration. The below market cost for tracking services
constitutes rebates/kickbacks in kind.

173. The bogus “commission” paid by SM Insurance to Standard Mortgage or to
Standard Mortgage’s affiliates is also a kickback. As with the tracking services, the money for
the “commissions” is derived from the force-placed insurance premiums paid by Standard
Mortgage. The “commission” payments are made on the pretense that a third-party insurance
agent introduced the insurance customer, i.e., Standard Mortgage, to SM Insurance and its
affiliates, At all relevant times, however, this pretense has been false.

174. Standard Mortgage received the kickbacks from SM Insurance.

175. Taxpayer-backstopped Government Sponsored Enterprises (“GSEs”) Fannie Mae,
Freddie Mac, and Ginnie Mae, which own and/or guarantee more than two-thirds of the loans
serviced by Standard Mortgage, have also been grossly overcharged for force-placed insurance
as a result of the scheme.

176. The relationship between the activities of the enterprise and the pattern of
racketeering: The Defendants’ force-placed insurance enterprise has a clear organizational
structure that delineates specific duties to each of the involved entities. SM Insurance has been

charged with providing portfolio-monitoring services (for below-market rate) and force-placing

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insurance policies onto Standard Mortgage borrowers. SM Insurance charges several times the
market rate for insurance to borrowers, like Plaintiff, who paid four times the cost of her original
insurance for SM Insurance’s policy, and splits the profits of its non-competitive policies with
Standard Mortgage through an undisclosed kickback. Defendants’ predicate acts are necessary to
further the common purpose of the enterprise—profiting from overpriced, noncompetitive
insurance policies placed onto unknowing borrowers.

177. How the racketeering activity differs from the usual and daily activities of
the Enterprise: Defendants have associated to force-place insurance on Standard Mortgage
borrowers. The Enterprise’s racketeering activity significantly increases profits from that which
Defendants would individually make if Defendants legitimately force-placed insurance with full
and honest disclosure to borrowers and/or without kickbacks.

178. The Enterprise benefitted from the pattern of racketeering. The enterprise
benefits from the pattern of racketeering by deceiving Standard Mortgage borrowers into
believing that the amount Standard Mortgage charges them represents the actual cost of
insurance. By fooling its borrowers and loan owners, Standard Mortgage and SM Insurance are
able to multiply profits obtained through the force-placed insurance premiums.

179. The effect of the Enterprise’s activities on interstate commerce: For the
purpose of furthering and executing the scheme, Standard Mortgage and SM Insurance and their
affiliates regularly transmitted and caused to be transmitted by means of the mail and wire
communication in interstate commerce writings, electronic data and funds, and also regularly
caused matters and things to be sent or delivered by a private or commercial interstate carrier.
Defendants’ enterprise engaged in predicate acts against borrowers in all states in which

Standard Mortgage does business.

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180. Who is employed by or associated with the enterprise: Defendants Standard
Mortgage and SM Insurance are associated with the enterprise and are liable as “persons” under
section 1962(c).

181. The same entity is not both liable as a “person” and the “enterprise” under
1962(c). Neither Standard Mortgage nor SM Insurance alone constitute the Enterprise itself.
Instead, each Defendant is part of the association-in-fact enterprise.

Injury to Plaintiff and the Class

182. Plaintiff and the Class have been injured in their business or property within
the meaning of 18 U.S.C. § 1964(c). Plaintiff and the Class paid or were charged falsely
inflated, unauthorized force-placed insurance premiums by reason, and as a direct, proximate and
foreseeable result, of the scheme alleged.

183. The relationship between the alleged injury and violation of the RICO
Statute: The violation of the RICO statute is the direct and proximate cause of the injuries
suffered by Plaintiff and the Class. The predicate acts misled Plaintiff and the Class to believe
that the “insurance premium” represented the actual cost of the insurance policy, not an inflated
cost that included the cost of an undisclosed kickback, Had Plaintiff been aware that the high
premium Defendants asserted was due, not to the cost of force-placed insurance, but rather to a
substantial kickback to Standard Mortgage, Plaintiff would have procured her own insurance.

184. Moreover, overcharging Plaintiff and the Class for force-placed insurance was an
integral and necessary part of the scheme, as those overcharges constituted purported “servicing
advances” that Standard Mortgage was entitled to recoup “off the top” from the proceeds of the

loans.

185. The damages sustained by reason of the violation of Section 1962: The

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damages sustained by reason of Defendants’ violation of Section 1962 equals the amount
Defendants were able to overcharge Plaintiff and members of the Class for their force-placed
insurance premiums, times three for treble damages. The precise amount owed to Plaintiff and
the Class requires discovery to ascertain.

186. Under the provisions of 18 U.S.C. § 1964{c), the Defendants are jointly and
severally liable to Plaintiff and the Class for three times the damages sustained, plus the costs of
bringing this suit, including reasonable attorneys’ fees.

187. SM Insurance is directly liable for its own violations of RICO, as alleged above.

188. As alleged above, at all times relevant herein, when SM Insurance committed the
RICO violations alleged herein, SM Insurance was acting within the course and scope of its
authority as an authorized agent of Standard Mortgage and its affiliates.

COUNT IT
CONSPIRACY TO VIOLATE THE RACKETEER INFLUENCED AND CORRUPT
ORGANIZATION ACT, 18 U.S.C. § 1962(d)
(Against All Defendants)

189. Plaintiff repeats and realleges each and every paragraph above as if set forth
herein.

190. RICO, 18 U.S.C. § 1962(d), provides that it “shall be unlawful for any person to
conspire to violate any of the provisions of subsection (a), (b), or (c) of this section.”

191. As set forth in Count I, above, at all relevant times, Plaintiff and the Class were
“persons” within the meaning of RICO, 18 U.S.C. §§ 1961(3) and 1962(c).

192. Defendants and their affiliates formed the previously alleged association-in-fact
Enterprise, within the meaning of 18 U.S.C. § 1961(4), for the common purpose of fraudulently

overcharging borrowers and loan owners with respect to force-placed insurance. The purpose

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thereof was to induce borrowers and loan owners to pay or incur fraudulently inflated,
unauthorized charges with respect to force-placed insurance.

193. The Enterprise was engaged in, and its activities affected interstate commerce
within the meaning of 18 U.S.C. § 1962(c).

194. As set forth in Count I, above, Defendants and their affiliates conducted or
participated, directly or indirectly, in the conduct of the Enterprise’s affairs through a pattern of
racketeering activity within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. §
1962(c).

195. Defendants and their affiliates were each associated with the Enterprise and
agreed and conspired to violate 18 U.S.C. § 1962(c), and agreed to conduct and participate,
directly or indirectly, in the conduct of the affairs of the Enterprise through a pattern of
racketeering activity in violation of 18 U.S.C. § 1962(d).

196. Defendants and their affiliates committed and caused to be committed a series of
overt acts in furtherance of the conspiracy and to affect the objects thereof, including but not
limited to the acts set forth in Count I.

197. Asa direct and proximate result of the overt acts and predicate acts of Defendants
in furtherance of violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C. § 1962(c),
Plaintiff and the Class have been injured in their business and property in an amount to be
determined at trial. Such injuries include, but are not limited to, fraudulently inflated charges
with respect to force-placed insurance, as a direct, proximate and foreseeable result of the
scheme alleged herein.

198. Under the provisions of 18 U. $.C. § 1964{c), Defendants are jointly and severally

liable to Plaintiff and the Class for three times the damages sustained, plus the costs of bringing

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this suit, including reasonable attorneys’ fees.

199, Standard Mortgage and SM Insurance are directly liable for their own RICO
conspiracy violations, as alleged above. Standard Mortgage and SM Insurance are also liable for
the RICO conspiracy violations of each other as well as for the RICO conspiracy violations of
their agents. As alleged above, pursuant to the scheme, Standard Mortgage engaged SM
Insurance to provide Standard Mortgage with tracking services. At all times relevant herein,
when SM Insurance committed the RICO conspiracy violations alleged herein, SM Insurance
was acting within the course and scope of its authority as an authorized agent of Standard
Mortgage.

COUNT IT

BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

(against STANDARD MORTGAGE)

200. Plaintiff incorporates by reference the allegations in the preceding paragraphs.

201. A covenant of good faith and fair dealing is implied in every contract and imposes
upon each party a duty of good faith and fair dealing in its performance. Common law calls for
substantial compliance with the spirit, not just the letter, of a contract in its performance.

202. Where an agreement affords one party the power to make discretionary decision
without defined standards, the duty to act in good faith limits that party’s ability to act
capriciously to contravene the reasonable contractual expectations of the other party.

203. Plaintiff and the Class members’ mortgage contracts allow Standard Mortgage to
force place insurance coverage on the borrower in the event of a lapse in coverage, but do not
define standards for need to fix formatting selecting an insurer or procuring an insurance policy.

204. Standard Mortgage is afforded substantial discretion in force-placing insurance

coverage. It is permitted to unilaterally choose the company from which it purchases force-

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placed insurance and negotiate any price for the coverage it procures. Standard Mortgage has an
obligation to exercise the discretion afforded it in good faith, and not capriciously or in bad faith.
Plaintiff does not seek to vary the express terms of the mortgage contract, but only to insure that
Standard Mortgage exercises it discretion in good faith,

205. Standard Mortgage breached the implied covenant of good faith and fair dealing
by, among other things:

(a) Manipulating the force-placed insurance market by selecting
insurers (here, SM Insurance) with inflated premiums that include
kickbacks to Standard Mortgage and issuing excess insurance
coverage not necessary to cover Standard Mortgage’s risk, and by
failing to seck competitive bids on the open market and instead
contracting to create “back room” deals whereby insurance
coverage is routinely purchased from SM Insurance without
seeking a competitive price;

(b) Exercising its discretion to choose an insurance policy in
bad faith and in contravention of the parties’ reasonable
expectations, by purposefully selecting high-priced force-placed
insurance policies with artificially inflated premiums to
maximize its own profits;

(c) Assessing inflated, duplicative, and unnecessary amounts for
force-placed insurance against Plaintiff and the Class and
misrepresenting the reason for the cost of the policies;

(d) Allowing Standard Mortgage and its affiliates to collect a
percentage of the amounts charged to Plaintiff and the Class as a
kickback and passing that percentage on to the borrower, thereby
creating the incentive to seek the highest-priced premiums
possible;

(ce) Charging Plaintiff and the Class for commissions when the
insurance is prearranged and no commission is due;

(f) Charging Plaintiff and the Class the cost of having the vendor
perform its obligation of administering its mortgage portfolio,
which is not properly chargeable to Plaintiff or the Class;

(g) Force placing insurance coverage in excess of what is required
by law or borrowers’ mortgage agreements;

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(h) Force placing insurance coverage in excess of that required to
cover the lender’s interest in the property, or the balance owed on
the loan; and

(i) Charging Plaintiff and the Class an inflated premium due to the
captive reinsurance arrangement.

206. As a direct, proximate, and legal result of the aforementioned breaches of the
covenant of good faith and fair dealing, Plaintiff and the Class have suffered damages.
COUNT IV
UNJUST ENRICHMENT/DISGORGEMENT
(against Standard Mortgage)

207. Plaintiff incorporates by reference the allegations in the preceding paragraphs.

208. Standard Mortgage has been unjustly enriched as a result of the conduct described
in this Complaint and other inequitable conduct. The kickbacks, commissions and other
compensation that Standard Mortgage received in connection with force-placed insurance were
not legitimately earned, and came at the ultimate expense of its customers who had insurance
force-placed on them.

209. Standard Mortgage accepted and retained these payments under such
circumstances that it would be inequitable for Standard Mortgage to retain the benefit without
payment to Plaintiff and the other Class members.

210. Plaintiff and the Class members have conferred a substantial benefit upon
Standard Mortgage from the force-placed insurance premiums paid by Plaintiff and the Class
members.

211. As a result of Standard Mortgage’s unjust enrichment, Plaintiff and the Class

members have sustained damages in an amount to be determined at trial and seek a full

disgorgement and restitution of Standard Mortgage’s enrichment, benefits, and ill-gotten gains

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acquired as a result of the unlawful or wrongful conduct alleged above and throughout the
Complaint.
COUNT V

UNJUST ENRICHMENT
(against SM Insurance)

212. Plaintiff incorporates by reference the allegations in the preceding paragraphs.

213. SM Insurance has been unjustly enriched as a result of the conduct described in
this Complaint and other inequitable conduct.

214. SM Insurance gave Standard Mortgage, either directly or through an affiliate, a
kickback disguised as a legitimate commission, but Standard Mortgage did not provide any
services that entitled it to a commission.

215. SM Insurance came to an agreement with Standard Mortgage and its affiliates to
inflate premium prices charged to borrowers so that it could kick back to Standard Mortgage a
percentage of that money.

216. As consideration for this agreement, SM Insurance became the exclusive insurer
for Standard Mortgage borrowers who were force-placed.

217. In addition to the benefit of not competing in the insurance market for policies,
SM Insurance was able to charge more than the market price for an insurance policy. While SM
Insurance kicked back a portion of this amount to Standard Mortgage and/or its affiliates, SM
Insurance retained a substantial portion of these inflated premiums at the expense of Plaintiff and
the Class.

218. Plaintiff and the Class have thus conferred a substantial benefit upon SM
Insurance.

219. Under such circumstances, it would be inequitable for SM Insurance to retain

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these benefits without payment to Plaintiff and the other Class members.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for relief as follows:

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Determining that this action may proceed as a class action under Rule
23 of the Federal Rules of Civil Procedure;

Designating Plaintiff as the Class representative;
Designating Plaintiff's counsel as counsel for the Class;
Issuing proper notice to the Class at Defendants’ expense;
Declaring that Defendants’ conduct violated RICO;

Declaring that Standard Mortgage’s conduct as alleged herein violated
Standard Mortgage’s duty of good faith and fair dealing;

Declaring that Defendants’ conduct as alleged herein was inequitable
and that Defendants were unjustly enriched by their conduct;

Declaring that Defendants acted willfully in deliberate or reckless
disregard of applicable law and the rights of Plaintiff and the Class as
alleged herein;

Awarding appropriate equitable relief, including restitution and an
injunction requiring Defendants to reverse all unlawful, unfair, or
otherwise improper charges for insurance coverage, allowing
customers to close loans without first paying premiums for insurance
that were not necessary or required by law, prohibiting Defendants
from imposing unfair and unlawful insurance requirements on
borrowers, prohibiting Defendants from earning commissions or other
compensation for themselves or affiliated entities on force-placed
insurance policies, and requiring Defendants to cease and desist from
engaging in further unlawful conduct in the future;

Awarding actual damages, treble damages, punitive damages, and
interest;

Awarding reasonable attorneys’ fees and costs to the full extent
permitted by law; and

Granting other and further relief, in law or equity, as this Court may
deem appropriate and just.

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Dated: December 3, 2015

Respectfully submitted,

SQUITIERI & FEARON, LLP

By: /s/ Stephen J. Fearon, Jr.

Stephen J. Fearon, Jr. (admitted pro hac vice)

Raymond N. Barto (admitted pro hac vice)

Thomas G. O’Brien (admitted pro hac vice)

SQUITIERI & FEARON, LLP

32 East 57th Street, 12th Floor

New York, New York 10022

Tel: (212) 421-6492

Fax: (212) 421-6553

Email: stephen@sfclasslaw.com
raymond@sfclasslaw.com
thomas@sfclasslaw.com

JERNIGAN LAW FIRM
Susanne Weiner Jernigan

829 Baronne Street

New Orleans, LA 70113

Tel: (504) 581-9322

Fax: (866) 703-7621

Email: sue@thejerniganfirm.com

THE LAW OFFICES OF RONALD L.
WILSON

Ronald L. Wilson

701 Poydras Street, Suite 4100

New Orleans, LA 70139

Tel: (504) 525-4361

Fax: (504) 525-4380

Email: cabral2@aol.com

Counsel for Plaintiff and the Proposed Class

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DEMAND FOR JURY TRIAL
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff and the Class

demand a trial by jury.
By: /s/ Stephen J. Fearon, Jr.

Stephen J. Fearon Jr.
SQUITIERI & FEARON, LLP

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 3rd day of December 2015, a copy of the foregoing
AMENDED COMPLAINT-CLASS ACTION AND DEMAND FOR JURY TRIAL was filed
electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be
sent to all counsel of record registered to receive electronic service by operation of the Court’s

electronic filing system.

By: /s/ Stephen J. Fearon, Jr.
Stephen J. Fearon, Jr.

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